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                     6   LIBERTY MUTUAL INSURANCE COMPANY
                     7
                     8                                 UNITED STATES DISTRICT COURT
                     9                            NORTHERN DISTRICT OF CALIFORNIA
                  10
                  11     GUSTAVAS VARLACK,                             Case No.
                  12                      Plaintiff,                   NOTICE OF REMOVAL OF ACTION
                                                                       PURSUANT TO 28 U.S.C. § 1332.
                  13           v.
                                                                       Complaint Served:
                  14     LIBERTY MUTUAL INSURANCE                      March 24, 2021
                         COMPANY and DOES 1-25, inclusive,
                  15                                                   (Removal from the Superior Court of
                                          Defendants.                  California for the County of Alameda, Case
                  16                                                   No. 22CV008616)
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ROBINS KAPLAN LLP
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                                                                                              NOTICE OF REMOVAL
    LOS ANGELES
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                     1          TO THE CLERK OF THE ABOVE-ENTITLED COURT, AND TO PLAINTIFF
                     2   GUSTAVAS VARLACK AND HIS ATTORNEYS OF RECORD:
                     3          PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1332(a)(1) and 28 U.S.C. § 1446(b),
                     4   Defendant Liberty Mutual Insurance Co. (“Liberty”) hereby removes this action from the Superior
                     5   Court of California, County of Alameda, to the United States District Court for the Northern District
                     6   of California. Removal is proper in this case based on the following grounds:
                     7                                      STATE COURT ACTION
                     8          1.      On March 18, 2022, Plaintiff Gustavas Varlack (“Plaintiff”) commenced an action
                     9   in Alameda County Superior Court, Case No. 22CV008616 (the “State Court Action”).
                  10            2.      A copy of the complaint in the State Court Action was served on Liberty on March
                  11     24, 2022.
                  12            3.      The State Court Action asserts claims for breach of contract, breach of covenant of
                  13     good faith and fair dealing, unfair business practices, common counts, and fraud against Liberty.
                  14            4.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders served
                  15     upon Liberty in this matter or which have so far been obtained by Liberty from the Court and
                  16     Plaintiff’s counsel are attached hereto as Exhibits 1-7, all of which are incorporated herein by this
                  17     reference, including the allegations contained in the complaint concerning jurisdiction, citizenship,
                  18     and venue, and the remainder of which will be provided when received.
                  19            5.      The following constitute all of the available processes, pleadings, or orders that have
                  20     been filed in the State Court Action and/or served upon or received by the undersigned counsel for
                  21     Liberty as of the time of the filing of this removal. True and correct copies of the following
                  22     documents are attached to this Notice of Removal:
                  23                        A. Complaint (Exhibit 1)
                  24                        B. Summons (Exhibit 2)
                  25                        C. Notice of Case Management Conference (Exhibit 3)
                  26                        D. Certificate of Mailing (Exhibit 4)
                  27                        E. Civil Case Cover Sheet (Exhibit 5)
                  28                        F. Proof of Service of Summons (Liberty) (Exhibit 6)
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                     1                        G. State Court Action docket (Exhibit 7).
                     2          6.         The State Court Action is a civil action of which this Court has original jurisdiction
                     3   under 28 U.S.C. § 1332, and is one that may be removed to this Court by the defendant pursuant to
                     4   the provisions of 28 U.S.C. § 1441(b) and 28 U.S.C. § 1446(b)(3). There is diversity jurisdiction
                     5   under 28 U.S.C. § 1332(a)(1) because this is a civil action between citizens of different states and
                     6   the matter and amount in controversy exceeds $75,000, exclusive of interest and costs.
                     7                                      DIVERSITY OF CITIZENSHIP
                     8          7.         Plaintiff alleges it “is the business owner of Oakland Acupuncture & Integrative
                     9   Medicine Clinic located at 9 Grand Ave #13, Oakland, CA 94612.” Ex. 1 (Complaint), ¶ 4. The
                  10     Complaint does not provide any information regarding Plaintiff’s citizenship, but Plaintiff’s
                  11     counsel has represented to Defendant’s counsel that Plaintiff is not a citizen or domiciliary of either
                  12     Massachusetts or New Hampshire. Declaration of Jason R. Fair, ¶ 4, dated April 22, 2022, filed
                  13     concurrently herewith (Fair Declaration).
                  14            8.         Liberty is a Massachusetts corporation organized under the laws of the
                  15     Commonwealth of Massachusetts and having its principal place of business in Boston,
                  16     Massachusetts, and thus is a citizen of the Commonwealth of Massachusetts only.1
                  17            9.         The parties identified in the Complaint as “Does 1-25” are fictitious parties whose
                  18     citizenship is disregarded for the purposes of removal. 28 U.S.C. § 1441(b)(1) (“For purposes of
                  19     removal under this Chapter, the citizenship of defendants sued under fictitious names shall be
                  20     disregarded.”).
                  21                                        AMOUNT IN CONTROVERSY
                  22            10.        Where a plaintiff’s state court Complaint is silent as to the amount of damages
                  23     claimed, the removing defendant need only establish it is more probable than not that plaintiff’s
                  24     1
                           Liberty is incorrectly named as a defendant in this action because Plaintiff’s commercial property
                         insurance policy is underwritten by Ohio Security Insurance Company, which is incorporated in
                  25     New Hampshire and headquartered in Massachusetts. Liberty’s counsel has made Plaintiff’s
                         counsel aware of this fact, and Plaintiff’s counsel has agreed to substitute defendant Ohio Security
                  26     Insurance Company for defendant Liberty in this action. However, as of the date of the filing of
                         this Notice of Removal, Plaintiff has not filed his amended complaint correcting the identity of the
                  27     defendant. Even after Plaintiff amends his Complaint, there will be complete diversity of
                         citizenship because, as noted above, Plaintiff’s counsel has represented that Plaintiff is not a citizen
                  28     or domiciliary of either Massachusetts or New Hampshire. Fair Declaration, ¶ 4.
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                     1   claim exceeds the jurisdictional minimum. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398,
                     2   403-04 (9th Cir. 1996). Here, the Complaint does not specify the dollar amount of damages being
                     3   sought. However, Plaintiff’s counsel made a pre-suit written demand for damages in the amount
                     4   of $140,000, which exceeds the $75,000 jurisdictional threshold. Fair Declaration, ¶ 3.
                     5                                    TIMELINESS AND CONSENT
                     6           11.    This Notice of Removal is being filed by Liberty within thirty (30) days of March
                     7   24, 2022 as required by 28 U.S.C. § 1446(b)(1).
                     8           12.    As Liberty is the only (non-fictitious) defendant in this action, all defendants who
                     9   have been served join in the removal of the action. See 28 U.S.C. § 1446(b)(2)(A).
                  10                                                    VENUE
                  11             13.    Venue in this Court is proper. Actions are removable from a state court to the district
                  12     court that encompasses the county where the action was filed. 28 U.S.C. § 1446(a). The Alameda
                  13     County Superior Court is located with the Northern District of California, where this Notice of
                  14     Removal is being filed.
                  15             14.    Although subject to the provisions of the contract out of which this action arises,
                  16     venue is also proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial part of the
                  17     events or omissions giving rise to the claim as alleged in the complaint (incorporated by this
                  18     reference) occurred, or are alleged to have occurred, within this judicial district.
                  19                                                   NOTICE
                  20             15.    Liberty represents that promptly after this filing, Notice of Removal shall be served
                  21     on Plaintiff’s counsel and a copy will be filed with the Clerk of Alameda County Superior Court.
                  22                                               CONCLUSION
                  23             16.    Having established that the requirements for removal of the State Court Action are
                  24     met, Liberty hereby gives notice of its removal.
                  25     //
                  26     //
                  27     //
                  28     //
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                                                                          -4-                            NOTICE OF REMOVAL
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                     1   Dated: April 22, 2022                  ROBINS KAPLAN LLP
                     2
                     3                                          By:
                                                                      Jason R. Fair
                     4
                                                                Attorneys for Defendant
                     5                                          LIBERTY MUTUAL INSURANCE CO.
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